CaSe 8-18-74123-|&8 DOC 30 Filed 02/22/19 Entered 02/22/19 15249:39

Law OHices oi`
Shapiro, DiCaro & Barak, LLC

One Huntington Quadnuiglc
Suj!e 3N05

Melville, New York 11747
(631) 844-961 1
FAX (631) 314-9525

February 22, 2019

Honorable Louis A. Scarcella

United States Bankruptcy Court
Alfonse M. D'Amato U.S. Courthouse
290 Federal Plaza

Central Islip, NY 11722

RE: Thomas J. Malone, Jr.
Chapter 13
Case Nurnber: 18-74123
SD&B File Number: 18-074207

Dear Judge Scarcella:

This loss mitigation status letter is submitted on behalf of Specialized Loan Servicing LLC
(“SLS”), a secured creditor of the above-referenced Debtor.

Please be advised that SLS gave the Debtor a good faith review for a loan modification, which
resulted in a denial. In the loss mitigation status letter iiled November 7, 2018 (ECF Doc. No. 27 ,
filed November 7, 2018, the “Letter”). The Letter advised of a Freddie Mac Flex Modiiication
denial due to SLS’ inability to reduce the Debtor’s monthly principal and interest payment. The
Letter also provided a deadline of November 25, 2018 for any appeal of the denial.

The Freddie Mac Flex Modification requires a reduction in the monthly principal & interest
payment, exclusive of escrow. As part of the good faith review, the loan tenn was extended to
480 months. The interest rate remained 4.000% due to the prior permanent 2011 HAMP
modification, a copy of which is affixed to SLS’ timely Proof of Claim, Claim No. 2. Aiier
recapitalization of the arrears, the unpaid principal balance increased from $250,690.76 to
$360,394.71. After these modification review steps, the monthly principal & interest payment
would have increased from $924.10 to $1,506.23. Since the monthly principal & interest
payment could not be reduced as required, a denial resulted.

In SLS’ loss mitigation status letter filed on December 13, 2018 as ECF Doc. No. 28, our firm
noted that the appeal deadline had long since passed. Later that day, our finn received an
untimely appeal of the denial, a copy of which is attached as part of Exhibit “A.” The untimely
appeal of the denial was forwarded to SLS, and SLS reviewed same in good faith,

ATI`ORNEYS AT LAW

 

Katlierine Heidbrink, B:ulkruptcy Atlomey Direcl (631) 844-9611 cxt. 3028 khcidbrink@logs.com

ROCHE`S[`ER OFFICE 175 Mi.lc Cros:ing Boulc\'zxd Roclxu¢cr, NY 14624 PHONE 1585) 247-9000 FAX (585) 247-7380

CaSe 8-18-74123-|&8 DOC 30 Filed 02/22/19 Entered 02/22/19 15249:39

notwithstanding the untimeliness. The basis for the appeal was that the Freddie Mac Flex
Moditication targets payment reduction, not a specific debt-to-income ratio.

On appeal, the denial stood. SLS prepared a detailed appeal denial letter dated January 30, 2019
(the “Appeal Denial”). A copy of the Appeal Denial is attached as part of Exhibit “A.” The
Appeal Denial reiterates the detailed denial figures from the Letter, and provides additional
detailed denial figures and information The Appeal Denial also explains that Freddie Mac’s Flex
Modiiication requirements cannot be waived. lnformation regarding the Freddie Mac Flex
Modiiication is publicly available See

h ://www.freddiemac.com/sin efamil /service/ df/flex modification factsheet. df.

 

SLS respectfully requests termination of loss mitigation based on the denial and appeal denial.
If you have any questions, please do not hesitate to contact the undersigned

Very truly yours,

/s/ Katherine Heidbiink

 

Katherine Heidbrink

CaSe 8-18-74123-|&8 DOC 30 Filed 02/22/19 Entered 02/22/19 15249:39

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December 13, 2018

Re: Mary Malone-
Property Address: 30 York St. Malveriie, NY 1 1565
Loan No.: -3813

To Whorn It May Concern,

Please allow this letter to serve as a formal appeal to the denial letter_ Our office
disagrees with the denial reasons and requests for a proper review to take place. The denial
reasons provided are very vague and do not provide sufficient information to determine if tlie
denial reasons are valid.

Relevant Details Regarding the Flex Modiflcation

As per the denial letter, our client was denied approval of a loan modification due to the
following: “'l`lie application was denied because we are Luiable to create a sufficient payment
reduction without changing the terms of your loan beyond the requirements of the program” and
“Tlie application was denied because the loan does not meet the delinquency requirements for
this program.” The denial letter does not provide what the target payment would be and does not
explain why it could not be reached Adclitionally, the denial letter fails to provide the income
and expenses that were used for the review. This denial is a clear indication that a proper review
has not taken place since a properly explained decision has not been provided Kindly provide us
with the numbers/calculations used to determine that the target payment cannot be achieved
Additionally, please provide us with the target payment that was considered as well as the
income and expenses used for the review. Lastly, the denial letter fails indicate whether a
forbearance or deferment was considered Without this information, we are unable to validate the
denial reason for this modification option.

Relevant Details Regarding Current lncome:
The denial letter, does not provide us with the income that was used for the modification

review. See below for the accurate income that should have been used for the revicw:

'I`homas’ lncome $12,’726.91 (w2)

 

Total: 312,726.91

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Given all of this information1 it is our opinion that the modification submission was riot
reviewed accurately. We respectfully request for our appeal to be considered and for this file be
re~reviewed. Please do not hesitate to contact me with any additional questions or concerns
regarding this matter.

Sincerely,

    

uwain Edwards
Senior Paralegal

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Specia|ized Loan
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8742 Lucent Boulevard

Hiqh|ands Ranch. CO 80129
www.s|s.net

1/30/2019

Aronow Law P.C.
Duwain Edwards
20 Crossways Park Drive West, Suite 210

Wood bury NY 11797

CaSe 8-18-74123-|&8 DOC 30 Filed 02/22/19 Entered 02/22/19 15249:39

Specia|ized Loan

Servicin&

January 30, 2019

Aronow Law P.C. RE: Loan Number:-3813
Duwain Edwards Mary B. Malone

20 Crossways Park Drive West, Suite 210 Thomas J. Malone Jr.
Woodbury, NY 11797 30 York Street

Ma|verne, NY 11565

Dear Duwain Edwards,

This letter is in response to your correspondence dated December 13, 2018 and received by Specia|ized
Loan Servicing LLC (“SLS') on December 16, 2018 regarding a second independent review for the above
referenced mortgage account

We understand that this mortgage loan account is included in the schedule of debts in a pending Chapter
13 bankruptcy that was filed on June 18, 2018. SLS is obligated under federal bankruptcy law to comply
with the requirements of the automch stay. Accordingly, the information contained in this letter is for
informational purposes and is not an attempt to collect a debt or impose personal liability with respect to
any portion of the debt.

A secondary review of the loss mitigation evaluation dated October 26, 2018 was conducted on January
7, 2019. The review determined that the application for mortgage assistance was accurately evaluated.

The modification decline was based on the inability to achieve a principal and interest payment reduction.
A proposed modification would have to take into consideration all past due arrearages, negative escrow
balance, previous deferments, and fees assessed due to the delinquency of the |oan. Due to the
constraints of the investors guidelinesl SLS was unable to achieve a payment reduction, P|ease note that
a proposed modification payment would increase the current principal and interest. Therefore, after
evaluation of your client’s loan, we have determined there is an insufficient monthly payment reduction

On October 26, 2018, we sent a letter notifying your client of the denial for a loan modification This
account was reviewed for our “F|ex-Mod” program. which targets payment reduction and is not contingent
upon income information

A second independent review used the below information:

Unpaid principal balanoe: $250,690.76
Dellnquent amounts: $109,703.95

The delinquent amounts were capitalized for a new proposed unpaid principal balance of $360,394.71.
The term of the loan was extended to 480 months with a rate of 4%.

The proposed interest-bearing balance for 40 years at a rate of 4% results in a principal-and-interest
payment of $1,506.23. The current principal-and-interest payment is $924.10. The payment increase
disqualified your client from this program.

|n the event your client has experienced a change in circumstancas, please submit an updated financial
information package with all supporting information and documentation evidencing the change in
circumstance. A copy of the financial package may be downloaded from our website (www.SLS.net).

8742 Lucent Blvd., Suite 300, High|ands Ranch, CO 80129
www.SLS.net
Specia|ized Loan Servicing LLC NMLS lD 2168

CaSe 8-18-74123-|&8 DOC 30 Filed 02/22/19 Entel’ed 02/22/19 15249:39

Specia|ized Loan

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As part of the loss mitigation prccess, our records reflect that Michelle (`l' eller lD #11088) has been
assigned as your client’s Single Point of Contact ("SPOC"). Michelle is available to discuss possible
options and any questions your client may have oonceming the financial information package or the
review process, including appea|.

lf you have any questions regarding this information, please contact our Bankruptcy department toll free
at 1-855-632-6631, Monday through Friday, 6:00 a.m. until 6:00 p.m. MT. SLS accepts calls from relay
services on behalf of hearing impaired borrowers

Sincerely,

/]')7

Doug, |D # 14204
Customer Care Support
Specialized Loan Servicing LLC

SPEC|ALIZED LOAN SERV|C|NG LLC lS REQU|RED B\' FEDERAL LAW TO ADV|SE YOU THAT
TH|S COMMUN|CATION lS FRQM A DEBT COLLECTOR.

BANKRUPTCY NOT|CE - lF YOU ARE A CUSTOMER IN BANKRUPTCY OR A CUSTOMER WHO
HAS RECE|VED A BANKRUPTCY DlSCHARGE OF TH|S DEBT: PLEASE BE ADV|SED THAT THlS
NOT|CE |S TO lNFORM YOU OF THE STATUS OF THE MCRTGAGE SECURED BY THE SUBJECT
PROPERTY. TH|S NOT|CE CONST|TUTES NEITHER A DEMAND FOR PAYMENT NOR A NOT|CE
CF PERSONAL LlABlLITY TO ANY REC|P|ENT HEREOF, WHO MIGHT HAVE RECE|VED A
DlSCHARGE CF SUCH DEBT lN ACCORDANCE WlTH APPL|CABLE BANKRUPTCY LAWS 0R
WHO MlGHT BE SUBJECT TO THE AUTOMATIC STA¥ OF SECT|ON 362 OF THE UNlTED STATES
BANKRUPTCY CODE. lF YOU RECE|VED A DlSCHARGE OF THE DEBT lN BANKRUPTCY, WE ARE
AWARE THAT YOU HAVE NO PERSCNAL OBL|GAT|ON TO REPAY THE DEBT. WE RETA|N THE
RlGHT TO ENFORCE THE LlEN AGA|NST THE COLLATERAL PROPERTY, WH|CH HAS NOT BEEN
DlSCHARGED |N YDUR BANKRUF`I'CY, lF ALLOWED BY LAW ANDIOR CONTRAC`I'. lF YOU HAVE
QUEST|ONS, PLEASE CONTACT US AT 1-800-306-6057.

SUCCESSORS lN lNTEREST - lF YOU ARE lN RECE|PT OF TH|S COMMUN|CAT|ON PURSUANT TO
YOUR STATUS AS A SUCCESSOR lN lNTEREST TO THE SUBJECT PROPERTY; THIS NOT|CE
DOES NOT MAKE ¥OU LlABLE FOR THE MORTGAGE DEBT. UNLESS YOU ARE PERSONALLY
LlABLE FOR OR HAVE ASSUMED THE MORTGAGE LOAN, YOU CANNOT BE REQU|RED TO USE
YOUR ASSETS TO PAY THE MORTGAGE DEBT. THE LENDER HAS A SECUR|TY lNTEREST lN
THE PROPERTY AND A RlGHT TO FORECLOSE ON THE PROPERTY, WHEN PERM|TTED BY LAW
AND AUTHOR|ZED UNDER THE MORTGAGE LOAN CONTRACT.

8742 Lucent Blvd., Suite 300, Highlands Ranch, CO 80129
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Specialized Loan Servicing LLC NMLS lD 2168

